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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                 :
PARK AVENUE AESTHETIC            : Case No. 1:19-cv-09761-JGK
SURGERY, P.C.,                   :
                                 :
           Plaintiff,            :
                                 :
      v.                         :
                                 :
EMPIRE BLUE CROSS BLUE SHIELD :
and GROUPFIRST OF MARYLAND, INC.:
AND GROUP HOSPITALIZATION AND :
MEDICAL SERVICES, INC. d/b/a     :
CAREFIRST BLUECROSS              :
BLUESHIELD,                      :
                                 :
           Defendants.           :
                                 :


______________________________________________________________________________

   BRIEF OF GROUP HOSPITALIZATION AND MEDICAL SERVICES, INC. d/b/a
  CAREFIRST BLUECROSS BLUESHIELD IN SUPPORT OF MOTION TO DISMISS
                  PLAINTIFF’S FIRST AMENDED COMPLAINT
______________________________________________________________________________


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                                 PRELIMINARY STATEMENT

       Defendant Group Hospitalization and Medical Services, Inc. d/b/a CareFirst BlueCross

BlueShield (“CareFirst”) submits this brief in support of its motion to dismiss Plaintiff’s First

Amended Complaint (“FAC”) for failure to state a claim.

       This    lawsuit   involves    a   dispute   over   health   benefits   available    to   patient

“L.G.” (“Patient”) under her employer-sponsored health benefit plan. On November 16, 2016,

May 10, 2017, and March 28, 2018, a physician affiliated with Plaintiff performed breast

reconstruction on the Patient. Plaintiff is not part of CareFirst’s network of participating providers,

or that of Defendant Empire Blue Cross Blue Shield (“Empire”). Colloquially, Plaintiff is “out-of-

network.” On each date of service, the Patient had medical coverage under a self-funded health

benefit plan (“Plan”) sponsored by her employer, Howard Hughes Medical Institute (“HHMI”).

HHMI contracts with CareFirst to provide claims administration services associated with the Plan.

There is no dispute that the Plan is an “employee welfare benefit plan” governed by and subject to

the Employee Retirement Income Security Act of 1974 (“ERISA”).

       Following the Patient’s procedures, Plaintiff submitted bills to CareFirst – via Empire – for

reimbursement under the Plan in the collective amount of $312,927. On behalf of the Plan,

CareFirst paid $24,934.70 pursuant to the Plan’s prescribed terms and conditions. As it happened,

this benefit was a small percentage of Plaintiff’s exorbitant bills. The FAC alleges that Plaintiff,

dissatisfied with the reimbursement, engaged in the Plan’s administrative appeals process seeking

additional payment. These appeals did not result in additional payment. Plaintiff now brings this

suit against CareFirst and Empire seeking to recover $287,992.30, which represents the difference

between what Plaintiff billed and what the Plan paid. Plaintiff seeks this amount from CareFirst



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via ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), which allows plan “participants” and

“beneficiaries” to file civil actions to recover “benefits due [them] under the terms of [their]

plan[s].”

       As set forth below, the FAC fails to state a claim against CareFirst for three reasons.

       First, Plaintiff lacks standing. Plaintiff, an out-of-network provider, is not a “participant”

or “beneficiary” with direct standing under ERISA § 502(a)(1)(B). Nor may Plaintiff assert

derivative standing under ERISA § 502(a)(1)(B) as an “assignee” because the Plan prohibits

assignments.

       Second, even if Plaintiff had standing, the FAC’s prayer for relief on the November 16,

2016 and May 10, 2017 dates of service is time-barred barred by the Plan’s two-year contractual

limitations period.

       Third, the FAC fails to state a claim under ERISA § 502(a)(1)(B) because it does not tie

Plaintiff’s demand for reimbursement at its actual charge to any specific Plan term. It is well-

established that if a complaint fails to identify which terms of the plan actually require payment of

the benefits that the claimant contends are vested and owed, the complaint fails to state a claim.




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                                     STATEMENT OF FACTS

                                       Identification of Parties

        Plaintiff is a medical practice group located in New York City. FAC, ¶ 12. CareFirst and

Empire are licensees of the Blue Cross Blue Shield Association (“Association”). Id., ¶¶ 13, 14, 15.

Empire issues health plans to, and/or administers health plans for, individuals and groups

domiciled in New York. Id., ¶¶ 13, 16. CareFirst issues health plans to, and/or administers health

plans for, individuals and groups domiciled in Maryland, the District of Columbia, and Northern

Virginia. Id., ¶¶ 14, 17.

        Plaintiff does not participate with either CareFirst or Empire. Id., ¶¶ 6, 25, 29. Colloquially,

Plaintiff is “out-of-network.” Id.

                                         Patient’s Surgeries

        Plaintiff alleges that the Patient “was initially diagnosed with a genetic predisposition to

breast cancer and had undergone a bilateral mastectomy[.]” Id., ¶ 4. Incident to this mastectomy,

Dr. Keith Blechman, a surgeon affiliated with Plaintiff, along with assistants, performed a two-

stage breast reconstruction on the Patient on November 1, 2016 and May 10, 2017. Id., ¶¶ 4, 28,

44. Dr. Blechman performed a third surgery on the Patient on March 28, 2018 to correct problems

arising from the prior procedures. Id., ¶¶ 4, 55.

                                 Patient’s Plan and Plan Documents

        HHMI, which is based in Chevy Chase, Maryland, sponsors the Plan for the benefit of its

eligible employees and their dependents. FAC, ¶ 2, 14; see also Certification of Wanda Lessner

(“Lessner Cert.”), Ex. A (p. 37, identifying Plan sponsor information). The Plan, as described in

the Summary Plan Description (“SPD”) referenced in the FAC, is commonly known as a Section


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125 “cafeteria plan,” which allows employees to opt-in to certain types of medical, dental, vision,

and other benefits (as if ordering from a cafeteria menu) and pay for them on a pre-tax basis.

Lessner Cert., Ex. A (SPD, p. 1, 8, referencing IRS Section 125 contributions).1

       The medical component of the Plan is self-funded (or “self-insured”) by HHMI. Lessner

Cert., ¶ 6, Ex. A (SPD, p. 1, 24), Ex. B (2016 EOC cover page), Ex. D (2018 EOC cover page).

This means that HHMI does not provide medical coverage to its employees by purchasing an

“insurance policy” from CareFirst, Empire, or any other carrier under which a carrier agrees to

underwrite – and assume the financial risk of – employees’ healthcare in exchange for HHMI’s

payment of premiums. Id. Instead, HHMI and its employees (through their contributions to the

Plan taken out of their salaries) fund all costs associated with – and assume the financial risk of –

employees’ healthcare. Id., Ex. A (SPD, p. 1, 7). HHMI contracts with CareFirst to secure access

to CareFirst’s network of providers, and to have CareFirst handle the administrative tasks

associated with the medical component of the Plan (processing claims, handling administrative

appeals, etc.), but CareFirst does not assume any financial risk for members’ healthcare claims.

Id., ¶ 6, Ex. A (SPD, p. 1, 24); Exs. B and D (2016 and 2018 EOC cover pages, noting “CareFirst

provides administrative claims payment services only and does not assume any financial risk or

obligation with respect to those claims”).

       Preliminarily, CareFirst is constrained to address the SPD, from which the FAC purports

to quote, and the SPD’s relationship to the “terms of the Plan” as a whole, which the FAC




1
       For a general description of cafeteria plans, see Madison v. Res. for Human Dev., Inc., 233

F.3d 175, 178 (3d Cir. 2000).

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references throughout. FAC, ¶¶ 14, 23, 36, 38, 41, 52, 54, 59, 60, 63, 66, 73, 79, 80, 84, 85. An

SPD, as the name suggests, “summarizes” statutorily-defined categories of ERISA information

(e.g., names and addresses of plan agents and administrators, plan requirements for eligibility, the

source of financing of the plan, etc.), but does not recite all plan terms, conditions, limitations, and

exclusions.2 As the SPD notes: “This document is intended merely as a summary of the official

Plan document(s). In the event of any disagreement between this summary and the official Plan

document(s), as they may be amended from time to time, the provisions of the Plan documents(s)

will govern.” Lessner Cert., Ex. A (SPD, p. 38). As the SPD further notes: “This summary should

be read in combination with the…Benefit Booklets provided by the insurance companies and

service providers. The Benefit Booklets are intended to describe the HHMI benefits available to

you as an employee of HHMI….Please see the Benefit Booklets for details of Plan benefits.”

Lessner Cert., Ex. A (SPD, p. 43).

       The “Benefit Booklets” referred to in the SPD are formally known as Evidences of

Coverage, or “EOCs.” The EOCs set forth the terms, conditions, limitations and exclusions of Plan

benefits and coverage. Lessner Cert., Exs. B-D. HHMI, as the self-insuring group, prepares its

own SPD, but CareFirst provides the EOCs. Lessner Cert., ¶ 7, Ex. A (p. 1). As far as a hierarchy

between the two documents, the SPD contains the following explanation:

               If there is ever a conflict or a difference between what is written in
               this summary and the Benefit Booklets with respect to the specific
               benefits provided, the Benefit Booklets shall govern unless


2
       See 29 U.S.C. § 1022(b); see also CIGNA Corp. v. Amara, 563 U.S. 421, 438

(2011)(“statements in a SPD “communicat[e] with beneficiaries about the plan, but…do not

themselves constitute the terms of the plan”)(emphasis in original).

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               otherwise provided by any federal and state law. If there is a conflict
               between the Benefit Booklets and this summary with respect to the
               legal compliance requirements of ERISA and any other federal
               law, this summary will rule.

               Id., Ex. A (p. 1)(emphasis in original).

       Appendix A1 to the SPD is the EOC for the Plan’s “preferred provider option” form of

coverage in which the Patient was enrolled. The EOCs for the 2016, 2017, and 2018 plan years are

attached to the Lessner Cert. as Exhibits B, C, and D, respectively. These are the “terms of the

Plan” referenced throughout the FAC. CareFirst notes that the FAC’s quotation of a Plan provision

regarding coverage for mastectomy-related services (FAC, ¶ 73) derives from the EOCs, not the

SPD. Lessner Cert., B (2016 EOC, p. 51) and D (2018 EOC, p. 61).

       Accordingly, because the FAC extensively relies on and purports to quote from both the

SPD and EOC; and because these documents are integral to this lawsuit, in which Plaintiff’s thesis

is that it has a vested right to additional benefits due under the terms of the Plan, the Court may

consider all Plan documents as part of this motion. See In re Merrill Lynch & Co., Inc., 273 F.

Supp. 2d 351, 356–57 (S.D.N.Y. 2003).

                                        BlueCard Program

       One section of the FAC addresses the Association’s BlueCard Program. FAC, ¶¶ 15-27.

The BlueCard Program is discussed in detail in each of the EOCs in the “Inter-Plan Arrangements

Disclosure” sections. Lessner Cert., Ex B. (2016 EOC, p. 33), Ex. C (2017 EOC, p. 3), Ex. D (2018

EOC, p. 40). As generally described in the FAC, within the dynamic of this case CareFirst is the

“Home Plan” (i.e., the Association licensee that issues and/or administers the plan in which the

patient is enrolled), and Empire is the “Host Plan” (i.e., the Association licensee that services the

geographic area in which the medical services occur). FAC, ¶¶ 16-23. Through BlueCard, a patient

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enrolled in a Home Plan who resides in or travels to another state (i.e., the “Host Plan’s” state)

may receive covered services from a provider who participates in the Host Plan’s network, and the

Home Plan will treat those services as “in-network” services as though the patient had received

them from a “Home Plan” participating provider. Id., ¶¶ 15-25; Lessner Cert., Ex. B (2016 EOC,

p. 34-25), Ex. C (2017 EOC, p. 3-4), Ex. D. (2018 EOC, p. 40-42). The Host Plan facilitates the

claims adjudication process by receiving the healthcare provider’s claim and communicating with

the provider. FAC, ¶ 26.

       Plaintiff, however, is out-of-network. FAC, ¶¶ 6, 25, 29. Plaintiff is also located outside of

the Maryland/DC-Metro area, where HHMI is located and sponsors the Plan, and where CareFirst

receives and processes claims. Id., ¶¶ 12, 14, 23. The “Inter-Plan Arrangements Disclosure”

sections of the Plan documents set forth how benefits are paid when a Plan member seeks care

outside of CareFirst’s service area from a provider who does not participate with the Host Plan’s

network. The 2016 EOC states:

               Typically, Members, when accessing care outside the geographic
               area CareFirst serves, obtain care from Health Care Providers that
               have a contractual agreement (i.e., are “PPO/Participating”) with the
               local Blue Cross and/or Blue Shield Licensee in that other
               geographic area (“Host Blue”). In some instances, Members may
               obtain care from Non-Participating Providers. CareFirst payment
               practices in both instances are described below.

                                                ***

               D. Non-Participating Providers Outside the CareFirst Service
               Area

               Member Liability Calculation

               1. In General When Covered Services are provided outside of the
               CareFirst service area by Non-Participating Providers, the
               amount(s) a Member pays for such services will generally be based

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              on either the Host Blue’s Non-Participating Provider local payment
              or the pricing arrangements required by applicable state/federal law.
              In these situations, the Member may be responsible for the
              difference between the amount that the Non-Participating Provider
              bills and the payment CareFirst will make for the Covered Services
              as set forth in this paragraph.

              2. Exceptions In some exception cases, CareFirst may pay claims
              from Non-Participating Providers outside of CareFirst’s service area
              based on the provider’s billed charge, such as in situations where a
              Member did not have reasonable access to a PPO/Participating
              Provider, as determined by CareFirst in CareFirst’s sole and
              absolute discretion or by applicable state/federal law. In other
              exception cases, CareFirst may pay such claims based on the
              payment it would make if CareFirst were paying a Non-Contracted
              Provider inside of its service area, as described elsewhere in this
              Group Contract, where the Host Blue’s corresponding payment
              would be more than CareFirst’s in-service area Non-Contracted
              Provider payment, or in CareFirst’s sole and absolute discretion,
              CareFirst may negotiate a payment with such a provider on an
              exception basis.

              Finally, CareFirst may pay up to billed charges for Group designated
              Covered Services.

              Unless otherwise stated, in any of these exception situations, the
              Member may be responsible for the difference between the amount
              that the Non-Participating Provider bills and the payment CareFirst
              will make for the Covered Services as set forth in this paragraph.

              Lessner Cert., Ex. B (2016 EOC, p. 33, 35)

Similarly, the 2017 EOC notes:

              When a Member receives care outside of CareFirst’s service area, it
              will be received from one of two kinds of providers. Most providers
              (“participating providers”) contract with the local Blue Cross and/or
              Blue Shield Licensee in that geographic area (“Host Blue”). Some
              providers (“nonparticipating providers”) don’t contract with the
              Host Blue. CareFirst explains below how CareFirst pays both kinds
              of providers.

                                              ***


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                D. Nonparticipating Providers Outside CareFirst’s Service
                Area

                1. Member Liability Calculation

                When Covered Services are provided outside of CareFirst’s service
                area by nonparticipating providers, the amount a Member pays for
                such services will normally be based on either the Host Blue’s
                nonparticipating provider local payment or the pricing arrangements
                required by applicable state law. In these situations, a Member may
                be responsible for the difference between the amount that the
                nonparticipating provider bills and the payment CareFirst will make
                for the Covered Services as set forth in this paragraph. Federal or
                state law, as applicable, will govern payments for out-of-network
                emergency services.

                2. Exceptions

                In certain situations, CareFirst may use other payment methods,
                such as billed charges for Covered Services, the payment CareFirst
                would make if the healthcare services had been obtained within
                CareFirst’s service area, or a special negotiated payment to
                determine the amount CareFirst will pay for services provided by
                nonparticipating providers. In these situations, the Member may be
                liable for the difference between the amount that the
                nonparticipating provider bills and the payment CareFirst will make
                for the Covered Services as set forth in this paragraph.

                Lessner Cert., Ex. C (2017 EOC, p. 3, 4)

The 2018 EOC repeats the foregoing language verbatim. Lessner Cert., Ex. D (2018 EOC, p. 40,

41).

                                    Plaintiff’s Charges and Appeals

        Following each procedure, Plaintiff submitted invoices for its services, the collective

amount of which was $312,927. FAC, ¶¶ 31, 45, 56, 86. The total paid was $24,934.70. Id. Plaintiff

contends that the Plan should have paid its actual charges, and it seeks to recover $287,992.30 in

additional benefits under the Plan. Id., ¶¶ 1, 7, 33, 46, 53, 56, 81, 86. Plaintiff alleges that it engaged


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in and exhausted the Plan’s administrative appeals seeking additional reimbursement, without

success. Id., ¶¶ 35, 36 40, 48.

       As an out-of-network provider, Plaintiff has the right to balance-bill for any part of its

charge not covered by its patient’s health plan. As explained above, the Plan documents alert

members that if they seek care from a provider outside of CareFirst’s service area who does not

participate with the Host Plan, they will be responsible for the difference between the amount that

the non-participating provider bills and the payment CareFirst makes. Lessner Cert., Ex. B (2016

EOC, p. 35), Ex. C (2017 EOC, p. 4), Ex. D (2018 EOC, p. 41). The FAC does not allege that

Plaintiff ever availed itself of its balance-billing remedy.

                                    Allegations in the Complaint

       Plaintiff describes this action as “an action under [ERISA], and its governing regulations,

concerning Defendants’ under-reimbursement to Plaintiff for post-mastectomy breast

reconstruction surgical services.” FAC, ¶ 1. Plaintiff alleges that because the services involve

breast reconstruction post-mastectomy, Plaintiff should have been paid its full charge. Id., ¶¶ 70-

78. To support this allegation, the FAC contains a non-factual legal summary of the Women’s

Health and Cancer Rights Act (“WHCRA”), which requires plans to cover breast reconstruction

incident to mastectomy in a manner consistent with coverage for other benefits under the plan, and

prohibits plans from excluding coverage for breast reconstruction incident to mastectomy as a

“cosmetic procedure.” Id.

         Plaintiff’s Alleged Derivative Standing and Plan’s Prohibition on Assignments

       Plaintiff brings this action in a derivative capacity as the Patient’s “assignee” or

“designated authorized representative” of Plan benefits. Id., ¶¶ 2, 65, 68, 69. The FAC quotes


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language in the SPD that Plaintiff contends purports to allow assignments as long as they are given

after the Plan pays the prescribed benefit. FAC, ¶¶ 66-67. This language is contained in the “Claims

and Appeals” section of the SPD, which provides:

               Non-Assignment of Benefits. Plan participants cannot assign,
               pledge, borrow against, or otherwise promise any benefit payable
               under the Plan before receipt of that benefit. However, benefits will
               be provided to a participant’s child if required by a Qualified
               Medical Child Support Order. In addition, subject to the written
               direction of a Plan participant, all or a portion of benefits provided
               by the Plan may, at the option of the Plan, and unless a participant
               requests otherwise in writing, be paid directly to the person
               rendering such service. No payment by the Plan pursuant to such
               direction shall be considered an assignment of benefits or as
               recognition by the Plan of a duty or obligation to pay a provider of
               services or supplies except to the extent the Plan actually chooses to
               do so. Any payment made by the Plan in good faith pursuant to this
               provision shall fully discharge the Plan and HHMI to the extent of
               such payment.

               Lessner Cert., Ex. A (SPD p. 36).

       The foregoing paragraph pertains to the direction of payments under the Plan. As to the

legal status of a beneficiary under ERISA, the SPD also provides, in a section entitled “Other

Limitations on Rights,” the following:

               Benefits payable under the Plan will not be subject in any way to
               anticipation, alienation, sale, transfer, assignment, pledge,
               encumbrance or charge of any kind. Any effort to take such an action
               will be void, except to the extent that an applicable Plan either: (a)
               allows for the provision of benefit payments directed to hospitals,
               physicians, and other providers of services in payment for covered
               services or goods; or (b) provides specifically for assignment.

               Lessner Cert., Ex. A (SPD, p. 42)

Consistent with this provision, the 2016 EOC provides, in a bolded section entitled Assignment

of Benefits: “A Member may not assign his or her right to receive benefits or benefit payments


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under this Evidence of Coverage to another person or entity except for routine assignment of

benefit payments to Preferred Providers rendering Covered Services.” Lessner Cert., Ex. B (2016

EOC, p. 30). The 2017 EOC Renewal Amendment left this language unchanged. Id., Ex. C.

Similarly, the 2018 EOC provides, in the same bolded section entitled Assignment of Benefits:

“A Member may not assign his or her right to receive benefits or benefit payments under this

Evidence of Coverage to another person or entity except for routine assignment of benefit

payments to a Preferred Health Care Provider/Contracting Pharmacy rendering Covered Services.”

Id., Ex. D (2018 EOC, p. 33).

                                    Plan’s Limitations Period

       The SPD states, in a bolded section entitled Legal Action: “Before pursuing legal action

for benefits under the Plan, you must first exhaust the Plan’s claim, review, and appeal procedures.

Additionally, any lawsuit you bring for Plan benefits must be filed within 24 months of the date

on which your claim is incurred under the Plan.” Lessner Cert., Ex. A (SPD p. 32). A claim is

“incurred” under the Plan on the date of service. Lessner Cert., Ex. B (2016 EOC p. 6)(“Incurred

means a Member’s receipt of a health care service or supply for which a charge is made”), Ex. D

(2018 EOC, p. 8)(same).

       The Patient’s dates of service are November 1, 2016, May 10, 2017, and March 28, 2018.

FAC, ¶¶ 28, 44, 55. Plaintiff commenced this action on October 23, 2019, and it amended its

pleading to name CareFirst as a defendant on December 18, 2019.




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                                     LEGAL ARGUMENT

                                   STANDARD OF REVIEW

       Fed. R. Civ. P. 8(a)(2) requires that a complaint include “a short and plain statement of the

claim showing that the pleader is entitled to relief.” The Court is required to ensure that the

pleading requirements of Rule 8(a)(2) are satisfied. See Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555-56 (2001). Although Rule 8(a)(2) does not require a plaintiff to prove his or her case at the

pleading stage by reciting every factual detail, it does require “more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at

555. Complaints that fail to plead with the specificity required by Rule 8 and its interpretive case

law are subject to dismissal under Rule 12(b)(6).

       In order for the Complaint to survive this motion to dismiss, it must allege “enough facts

to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. The Supreme

Court established the two-pronged test for determining “plausibility” in Ashcroft v. Iqbal, 556 U.S.

662, 679 (2009). Under that test, the Court must (1) identify and disregard those pleadings that

are mere conclusions, because mere conclusions are not entitled to an assumption of truth; and (2)

determine whether the well-pleaded factual allegations that remain—if any—plausibly give rise to

an entitlement of relief. Id. Further, even though a complaint should be read in a light most

favorable to the plaintiff, it must contain enough factual matter to “demonstrate more than a sheer

possibility that a defendant has acted unlawfully.” Precision Associates, Inc. v. Panalpina World

Transport Holding, Inc., 2013 W.L. 6481195, * 5 (E.D.N.Y. Sep. 20, 2013). Conclusory

allegations or conclusions of law couched as factual allegations will not suffice. See id. (citing

Iqbal, 556 U.S. at 678). “To avoid dismissal, plaintiffs must plead facts that nudge their claims


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across the line from conceivable to plausible.” Id. The FAC fails under these authorities.

                                             POINT I

    PLAINTIFF LACKS STANDING TO ASSERT AN ERISA § 502(a)(1)(B) CLAIM.

       Plaintiff seeks relief against CareFirst solely through ERISA § 502(a)(1)(B), which confers

direct standing to “recover benefits…due…under the terms of [a] plan” on plan “participants” and

“beneficiaries.” 29 U.S.C. § 1132(a)(1)(B). Medical providers meet neither definition, and ERISA

confers no direct standing upon providers. See McCulloch Orthopedic Surgical Services, PLLC v.

Aetna, Inc., 857 F.3d 141, 146 (2d Cir. 2017). Like most circuits, however, the Second Circuit

recognizes derivative provider standing if the provider obtains an assignment of benefits. Id. at

147.

       To be effective, however, an assignment must first be permissible under the plan. See

Neuroaxis Neurosurgical Assocs., PC v. Costco Wholesale Co., 919 F.Supp.2d 345, 351 (S.D.N.Y.

2013). In McCulloch, the Second Circuit held that a provider’s acceptance of an assignment of

benefits under a plan that prohibits assignments is a “legal nullity.” Id. “McCulloch's conclusion

regarding the ineffectiveness of assignments of ERISA plan benefits where the plan contains an

unambiguous anti-assignment provision is in accord with other circuits.” LI Neuroscience

Specialists v. Blue Cross Blue Shield of Fla., 361 F. Supp. 3d 348, 353–54 (E.D.N.Y. 2019). Thus,

if a plan unambiguously prohibits assignments, a medical provider “does not have a cause of action

to bring an ERISA enforcement claim pursuant to § 502(a)(1)(B).” Id.

       Plaintiff recognizes the general enforceability of anti-assignment clauses, but construes the

SPD as prohibiting assignments only before a claim is paid, not after. FAC, ¶¶ 67-68. The SPD

provision to which the FAC cites provides:


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               Non-Assignment of Benefits. Plan participants cannot assign,
               pledge, borrow against, or otherwise promise any benefit payable
               under the Plan before receipt of that benefit. However, benefits will
               be provided to a participant’s child if required by a Qualified
               Medical Child Support Order. In addition, subject to the written
               direction of a Plan participant, all or a portion of benefits provided
               by the Plan may, at the option of the Plan, and unless a participant
               requests otherwise in writing, be paid directly to the person
               rendering such service. No payment by the Plan pursuant to such
               direction shall be considered an assignment of benefits or as
               recognition by the Plan of a duty or obligation to pay a provider of
               services or supplies except to the extent the Plan actually chooses to
               do so. Any payment made by the Plan in good faith pursuant to this
               provision shall fully discharge the Plan and HHMI to the extent of
               such payment.

               Lessner Cert., Ex. A (SPD p. 36).

This provision is not a legal restriction placed on a Plan member’s ability to transfer standing under

ERISA, but rather a “spendthrift” clause placing restrictions on the rights of third-parties to take

an interest in a plan member’s benefits before they are paid.

       The Fifth Circuit touched upon this issue in Hermann Hospital v. MEBA Medical and

Benefits Plan, 959 F.2d 569, 574 (5th Cir. 1992), overruled in part on other grounds by Access

Mediquip, LLC v. UnitedHealthCare Ins. Co., 698 F.3d 229 (5th Cir. 2012). In Hermann, a hospital

sued an insurance company under ERISA in order to recover benefits allegedly assigned by the

patient. The insurance company endeavored to make a standing argument based on a plan

provision not unlike the foregoing provision, which read: “No employee, dependent, or beneficiary

shall have the right to assign, alienate, transfer, sell, hypothecate, mortgage, encumber, pledge,

commute, or anticipate any benefit payment hereunder, and any such payment shall not be subject

to any legal process to levy execution upon or attachment or garnishment proceedings against for

the payment of claims.” Hermann, 959 F.2d. at 574.


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        The court determined that this language was not a restriction on a plan beneficiary’s ability

to transfer ERISA § 502(a) standing, but rather a “spendthrift clause” that applied “only to

unrelated, third-party assignees – other than the health care provider of the assigned benefits –

such as creditors who might attempt to obtain voluntary assignments to cover debts having no

nexus with the Plan or its benefits, or even involuntary alienations such as attempting to garnish

payments for plan benefits.” Hermann, 959 F.2d at 575. Although the Court did not suggest that a

plan may restrict a member’s ability to perfect an assignment through a valid anti-assignment

provision, it found that the spendthrift language on which the insurance company relied was not

such a restriction.3

        The SPD provision to which the FAC refers is similar. The provision speaks of assigning,

borrowing against, or pledging as collateral Plan benefit payments before they come due. Once a

benefit is owed to the member, the provision allows the member to direct its payment to a specific

person (e.g., a provider), but the member cannot pledge, assign, or secure an interest in the benefit




3
        Lest there be any confusion, the 1992 Hermann opinion does not provide foundation for a

policy-based argument for refusing to enforce anti-assignment provisions against medical

providers. In fact, the Fifth Circuit subsequently held that anti-assignment provisions are

enforceable against providers. See LeTourneau Lifelike Orthotics & Prosthetics, Inc. v. Wal-Mart

Stores, Inc., 298 F.3d 348 (5th Cir. 2002). Since Hermann, every Circuit Court (including the

Second Circuit) to have taken up the issue has held the same. See McCulloch, 857 F.3d at 147.

Hermann is a useful reference, however, for distinguishing between a spendthrift clause and a

clause restricting assignments for purposes of transferring ERISA standing.

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until it is payable. Notably, the provision makes an exception to this rule for Qualified Medical

Child Support Orders, which are ERISA-required orders issued by state administrative agencies

that require an alternate beneficiary (e.g., a child or stepchild) to be covered by a plan participant’s

plan. See generally 29 U.S.C. § 1169; O'Neil ex rel. Lord v. Wal-Mart Corp., 502 F. Supp. 2d 318,

319 (N.D.N.Y. 2007). When read in conjunction with the plan as a whole, the foregoing provision

is obviously a provision that speaks to choate versus inchoate interests in Plan benefits, and

whether those benefits are generally subject to assignment/hypothecation/attachment/etc. by

unaffiliated third-parties before benefits come due. Indeed, this same provision also states that

“[n]o payment by the Plan pursuant to such direction shall be considered an assignment of

benefits[.]” The provision simply does not speak to the pertinent issue of assignments for purposes

of transferring a member’s rights under ERISA.

        However, the SPD’s section entitled “Other Limitations on Rights” does speak to this issue,

as do the EOCs. In a provision entitled “No Assignment of Benefits,” the SPD states that any

assignment of benefits will be void unless the Plan otherwise allows it. Lessner Cert., Ex. A (SPD,

p. 42). But the Plan does not otherwise allow it. Quite the opposite, the 2016 EOC (which HHMI

renewed for the 2017 plan year) provides: “A Member may not assign his or her right to receive

benefits or benefit payments under this Evidence of Coverage to another person or entity except

for routine assignment of benefit payments to Preferred Providers rendering Covered Services.”

Lessner Cert., Ex. B (2016 EOC, p. 30). Similarly, the 2018 EOC provides: “A Member may not

assign his or her right to receive benefits or benefit payments under this Evidence of Coverage to

another person or entity except for routine assignment of benefit payments to a Preferred Health

Care Provider…rendering Covered Services.” Id., Ex. D (2018 EOC, p. 33). As explained above,


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the EOCs govern the terms, conditions, limitations (e.g., the ability to give an assignment of

benefits to an out-of-network provider), and exclusions of the Plan. These documents state that,

except for routine assignments of benefit payments to preferred (i.e., participating) providers, the

Plan does not permit assignments. Accordingly, Plaintiff lacks standing.4

                                             POINT II

    THE FAC IS TIME-BARRED AS TO CLAIMS RELATED TO THE 2016 AND 2017
     DATES OF SERVICE DUE TO THE PLAN’S CONTRACTUAL LIMITATIONS
                                PERIOD.

       Because ERISA does not contain a specific statute of limitations for challenging the denial

of benefits, courts look to the “most nearly analogous state limitations statute.” See Burke v.

PriceWaterHouseCoopers LLP Long Term Disability Plan, 572 F.3d 76, 78 (2d Cir. 2009). The

statute of limitations for breach of contract in New York (where the Patient received the medical



4
       In addition to an “assignee,” the FAC also describes Plaintiff as an “authorized

representative” of the Patient. FAC, ¶¶ 2, 65, 69. This designation refers to 29 C.F.R. 2560.503-

1(b)(4), which allows an authorized representative of a claimant to act on the claimant’s behalf in

pursuing an internal administrative appeal of an adverse benefit decision. It is well-established,

however, that this regulation applies to internal administrative appeals only, not to federal lawsuits

brought after those appeals are exhausted, and that the regulation confers no independent standing

on providers and cannot be used to override a valid anti-assignment provision. See Mbody

Minimally Invasive Surgery, P.C. v. Empire Healthchoice Hmo, Inc., 2016 W.L. 2939164, at *6

(S.D.N.Y. May 19, 2016); Prof’l Orthopedic Associates, PA v. Excellus Blue Cross Blue Shield,

2015 W.L. 4387981 (D.N.J. Jul. 15, 2015).


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services) is six years, and the statute of limitations for breach of contract in Maryland (where

HHMI is headquartered, where HHMI sponsors the Plan, and where CareFirst receives and

processes healthcare claims) is three years. See N.Y. C.P.L.R. § 213; MD. CODE ANN., Cts. & Jud.

Proc. § 5-101. 5 Regardless of which statute may otherwise apply here, an ERISA plan may provide

for a shorter limitations period, which a court must enforce as long as it is not unreasonable.

Heimeshoff v. Hartford Life & Accident Ins. Co., 496 F. App’x. (2d Cir. 2012), aff’d 571 U.S. 99,

109 (2013). Courts within the Second Circuit consistently apply Heimeshoff’s holding. See, e.g.,

Arkun v. Unum Grp., 2017 W.L. 4084050, at *5 (S.D.N.Y. Sept. 14, 2017), aff'd, 767 Fed.Appx.

51 (2d Cir. 2019); Tuminello v. Aetna Life Ins. Co., 2014 W.L. 572367, at *2 (S.D.N.Y. Feb. 14,

2014).

         The SPD states: “[A]ny lawsuit you bring for Plan benefits must be filed within 24 months

of the date on which your claim is incurred under the Plan.” Lessner Cert., Ex. A (SPD p. 32). A

claim is “incurred” on the date of service. Lessner Cert., Ex. B (2016 EOC p. 6), Ex. D (2018

EOC, p. 8). Here, the Patient’s first two dates of service were November 1, 2016 and May 10,

2017. Both dates are more than two years before Plaintiff first filed this lawsuit. There is,

moreover, no persuasive argument that the Plan’s two-year limitations period is unreasonable. See,

e.g., Gaboriault v. Int'l Bus. Machines Corp., 2006 W.L. 3304213, * 6 (D. Vt. Nov. 13, 2006)

(upholding two-year limitation period). Indeed, courts have upheld limitations periods of far

shorter duration. See, e.g., Northlake Reg'l Med. Center v. Waffle House Sys. Employee Benefit




5
         CareFirst maintains that Maryland’s three-year statute of limitations would otherwise apply

here, and CareFirst reserves its rights on this point.

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Plan, 160 F.3d 1301, 1304 (11th Cir.1998) (upholding 90–day limitation period). Thus, even if the

Plan did not prohibit assignments, the FAC is time-barred as to the first two dates of service.

                                             POINT III

 THE FAC FAILS TO STATE A CLAIM BECAUSE IT DOES NOT TIE PLAINTIFF’S
   DEMAND FOR ADDITIONAL BENEFITS TO ANY SPECIFIC PLAN TERM.

       ERISA § 502(a)(1)(B) allows a plan participant or beneficiary to bring a civil action “to

recover benefits due to him under the terms of his plan.” 29 U.S.C. § 1132(a)(1)(B)(emphasis

added). “Only the words of the Plan itself can create an entitlement to benefits,” and an ERISA

lawsuit for benefits “stands and falls by the terms of the plan.” Atlantic Plastic & Hand Surgery,

PA v. Anthem Blue Cross Life and Health Ins. Co., 2018 W.L. 5630030, at * 7 (D.N.J. Oct. 31,

2018); see also Reichelt v. Emhart Corp., 921 F.2d 425, 430 (2d Cir. 1990)(plan documents, not

prior practice of parties, governs right to severance benefits under plan); Devlin v. Empire Blue

Cross & Blue Shield, 274 F.3d 76, 82 (2d Cir. 2001).

       A complaint that fails to tie a demand for additional ERISA benefits to a plan term fails to

state a claim. In Prof’l Orthopaedic Assocs., PA v. 1199SEIU Nat’l Benefit Fund, 697 F. App’x.

39 (2d Cir. 2017), for example, the Second Circuit affirmed the District Court’s dismissal of the

plaintiff’s § 502(a)(1)(B) claim where the complaint alleged that the defendant was “required to

pay the ‘usual, customary and reasonable rates’ for services rendered by the out-of-network

providers ... but it fail[ed] to identify any provision in the plan documents requiring the [defendant]

to pay such rates.” Id. at 41 (citing Guerrero v. FJC Sec. Servs., 423 Fed.Appx.14, 17 (2d Cir.

2011); see also N.Y. State Psychiatric Ass’n, Inc. v. UnitedHealth Grp., 798 F.3d 125, 135 (2d Cir.

2015)(affirming dismissal of Section 1132(a)(1)(B) claim where complaint failed to “satisfy the

Twombly pleading standard” by not “identify[ing the] patients’ plans or the terms of their plans”);

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Majied v. New York City Dep’t of Educ., 2018 W.L. 333519 (S.D.N.Y. Jan.8, 2018) (dismissing

plaintiff’s § 502(a)(1)(b) claim for wrongful denial of benefits because“[s]uch barebones

allegations are insufficient to state a claim”).

        The FAC fails to tie Plaintiff’s contention that the Plan should have paid Plaintiff’s actual

charge to any particular plan term. In fact, the FAC completely ignores the specific provisions of

the Plan which govern how benefits are administered under BlueCard when a Home Plan member

receives out-of-network services in the Host Plan’s service area. As explained above, such

payments will generally be based on the Host Plan’s out-of-network rate, unless federal or state

law requires otherwise. Lessner Cert., Ex. B (2016 EOC, p. 33, 35); Ex. C (2017 EOC, p. 3, 4);

Ex. D (2018 EOC, p. 40, 41). Nothing in the Plan documents’ pertinent sections mandate that the

Plan pay 100% of Plaintiff’s actual charge. Accordingly, the FAC fails to sufficiently plead a claim

under ERISA § 502(a)(1)(B). See, e.g., Pruter v. Local 210’s Pension Tr. Fund, 2016 W.L. 908303

(S.D.N.Y. Feb. 8, 2016), vacated and remanded on other grounds, 858 F.3d 753 (2d Cir. 2017)

(dismissing 502(a)(1)(B) claim because “Plaintiffs cite no authority—from the Plan or otherwise

for the proposition that Plaintiffs’ past service credits were converted into future service credits

upon being fully funded, and the Court finds none upon a review of the Plan.”).

        The WHCRA – which the FAC cites at length – does not change the analysis. Preliminarily,

the WHCRA does not provide for a stand-alone cause of action, nor did Congress, in enacting the

WHCRA, “inten[d] to create…a remedy supplemental to remedies available within ERISA.”

Howard v. Coventry Health Care of Iowa, Inc., 158 F.Supp.2d 937, 941 (S.D. Iowa 2001), aff’d

293 F.3d 442 (8th Cir. 2002). Thus, the WHCRA does not carve out any special exceptions to

ERISA insofar as a claimant’s right to benefits is concerned. See id. at 942-943. Indeed, the statute


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expressly states that it shall not affect or modify ERISA’s provisions with respect to group health

plans. 29 U.S.C. § 1185b(e)(2).

       The WHCRA provides that an insurer who provides a plan participant with benefits in

connection with a mastectomy and breast reconstruction shall also provide coverage for: (1) all

stages of reconstruction of the breast on which the mastectomy has been performed; (2) surgery

and reconstruction of the other breast to produce a symmetrical appearance; and (3) prostheses and

physical complications of mastectomy, including lymphedemas. 29 U.S.C. § 1185b(a). The insurer

must also provide written notice to its participants of the above coverage required by the WHCRA.

Id. § 1185b(b). The Plan documents comply with this directive. See Lessner Cert., Ex. A (SPD’s

WHCRA Disclosure, p. 23), Ex. B (2016 EOC’s WHCRA Disclosure, p. 51), Ex. D (2018 EOC’s

WHCRA’s Disclosure, p. 61).

       The WHCRA imposes no requirement other than that a plan cover mastectomy-related

breast reconstruction to the same extent it covers other benefits. 29 U.S.C. § 1185b(a)(“Such

coverage may be subject to annual deductibles and coinsurance provisions as may be deemed

appropriate ad as are consistent with those established for other benefits under the plan or

coverage.”). While nothing prevents a plan from negotiating a particular reimbursement with a

provider of mastectomy-related breast reconstruction services (see FAC, ¶ 70 (citing 29 U.S.C. §

1185b(d)), nothing in the WHCRA requires a plan to do so.

       The WHCRA also does not obligate a plan to create any special exceptions to its in-

network/out-of-network coverage terms for breast reconstruction services as far as quantum of

reimbursable benefits. See, e.g., Krauss v. Oxford Health Plans, Inc., 517 F.3d 614, 625-630 (2d

Cir. 2008). Indeed, in Krauss, the District Court made the following holding, which the Second


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Circuit affirmed:

               At the time WHCRA was under consideration, insurers quite
               commonly refused to pay for breast reconstruction after
               mastectomy, on the ground that it was a “cosmetic” procedure and
               was “not medically necessary.” The statute addressed this problem
               by requiring insurers to reimburse their insureds for post-
               mastectomy breast reconstruction. Nothing in the legislative history
               affirmatively indicates that the insurer must offer better coverage for
               breast reconstruction than it offers for the mastectomies that
               necessitate them, or for other life-saving procedures. There is no
               mention in the legislative history of any need to reimburse plastic
               surgeons more fully than other surgeons, and it defies logic to
               assume that Congress would have imposed such a requirement sub
               silentio, or by negative inference. Yet that is what plaintiffs would
               have me conclude. I decline to do so.

               Plaintiffs refer this Court to the Senate debate on the bill, in which
               Senators spoke of the need to “guarantee the right to have a complete
               reconstruction,” and to “restore a woman’s wholeness” through
               mandatory insurance coverage of post-mastectomy breast
               reconstruction. But neither those statements nor any other made
               during the Senate debate either flat out says or fairly implies that an
               insurance provider must “restore a woman’s wholeness” by
               reimbursing her for 100% of the amount billed by her surgeon,
               regardless of the other terms and conditions of the Plan. The bill
               only states that “coverage” must be provided. It is beyond cavil that
               plaintiffs received “coverage” for her reconstruction surgery. And,
               as will be seen below, Ms. Krauss received it on exactly the same
               basis as she received coverage for her other surgeries. In other
               words, the coverage was commensurate with the terms and
               conditions of her policy and did not discriminate against this
               particular form of surgery.

               Krauss v. Oxford Health Plans, Inc., 418 F. Supp. 2d 416, 426–27
               (S.D.N.Y. 2005), aff'd, 517 F.3d 614 (2d Cir. 2008).

       This holding applies here. Although Plaintiff takes the position that the WHCRA entitles

Plaintiff to 100% reimbursement of its billed charges, the terms and conditions of the Plan

notwithstanding, courts have expressly rejected this position. Nothing in the Plan or any applicable

law compels the result the Plaintiff seeks and the FAC must be dismissed.

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                                       CONCLUSION

      For the foregoing reasons, the Court should dismiss the FAC with prejudice as to CareFirst.


                                           BECKER LLC
                                           Attorneys for CareFirst


                                           By:     /s/ Michael E. Holzapfel, Esq.
                                                   Michael E. Holzapfel

Dated: March 13, 2020




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                            CERTIFICATION OF COMPLIANCE

       I hereby certify that the foregoing brief in support of CareFirst’s motion to dismiss contains

6,929 words (exclusive of the cover page, table of contents, table of authorities, and this

certification), which is fewer than the 7,000-word maximum imposed by Section 2(D) of the

Court’s individual practices. I further certify that the foregoing brief complies with the additional

requirements imposed by Section 2(D) of the Court’s individual practices.

       I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.



                                              /s/ Michael E. Holzapfel
                                              MICHAEL E. HOLZAPFEL


Dated: March 13, 2020




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